                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


   In Re:

   Joseph G. DuMouchelle and Melinda J.                       Case No. 19-54531
   Adducci                                                    Chapter 7
                Debtor(s),                        /           Hon. Lisa S. Gretchko

   Teodor Gelov
                Plaintiff(s),
   v.
   Joseph G. DuMouchelle and Melinda J.
   Adducci                                                    Adv. Proc. No. 20-04172
                Defendant(s),                     /


                     ADVERSARY PROCEEDING SCHEDULING ORDER


       After consultation with the parties, pursuant to Fed. R. Bankr. P. 7016 and 7026, and the parties
having conducted a conference and submitted a written report thereof (A26(f) Report@) under Fed. R.
Civ. P. 26(f), IT IS HEREBY ORDERED that further proceedings in this case shall be governed by
the following:


                                                 I.
                      Discovery Plan and Other Provisions of Rule 26(f) Report

       The Rule 26(f) Report is adopted as an order of this Court and incorporated herein with the
following exceptions: (1) paragraph 2(c) is modified to permit 35 interrogatories by Plaintiff including
all discrete subparts, as the phrase “all discrete subparts” is explained in Harhara v. Norville, 2007
WL 2897845 ( E.D. Mich. September 25, 2007); (2) paragraph 2(d) is modified to permit a maximum
of 7 depositions by Plaintiff, and (3) paragraph 2(h) is deleted and shall not apply.




                                                   II.
                                  Filing of Joint Final Pretrial Order

       A joint final pretrial order prepared in accordance with E.D.Mich.LBR 7016-1 shall be
submitted for entry at least seven (7) days before the final pretrial conference.   In the portion of the


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joint final pretrial order designated AIssues of Law to be Litigated@, each party shall provide after each
listed issue, that party=s three strongest reported cases in support of its view of the law.

                                                  III.
                                                Mediation


       The Court encourages the parties to consider mediation of this adversary proceeding pursuant
to E.D.Mich.LBR 7016-2.        If all parties agree to mediation, the parties should file a stipulation and
submit to the Court a proposed order appointing the mediator.       If the parties have agreed to select a
mediator from the list of approved mediators on the Court's website, the proposed order should contain
the name of the mediator when it is submitted to the Court for entry.       If the parties have not agreed
on the name of the mediator, the proposed order appointing the mediator should be submitted without
a mediator's name and the Court will then select a mediator from the approved list and indicate such
person's name in the order that is entered.    All mediation must be concluded no later than five days
before the final pretrial conference scheduled by this order. The Court will not adjourn the final pre-
trial conference or the trial to permit mediation to continue past the deadline set by this order.       If
the parties desire to further discuss mediation with the Court, the parties shall jointly contact Judge
Gretchko's Courtroom Deputy, Chery London, to arrange a time for a conference call or a conference
in chambers with the Court.

                                                    IV.
                                        Final Pretrial Conference

       A final pretrial conference will be held on September 18, 2023, at 10:00 a.m. before the
Honorable Lisa S. Gretchko, at 211 W. Fort Street, 19th Floor, Courtroom 1975, Detroit,
Michigan.


                                                    V.
                                   Trial Date(s) in Bankruptcy Court

       THE TRIAL OF THIS MATTER SHALL COMMENCE ON October 4, 2023, and October
5, 2023, at 9:00 a.m. before the Honorable Lisa S. Gretchko, at 211 W. Fort Street, 19th Floor,
Courtroom 1975, Detroit, Michigan.




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                                                 VI.
                                        Miscellaneous Matters

       (a)     Adjournment(s) or Changes in this Order

                Requests for adjournment of the final pre-trial conference or the trial are governed by
E.D.Mich.LBR 5071-1. Any changes in any other dates or provisions of this order are to be sought
in accordance with E.D.Mich.LBR 9014-1, or by written stipulation provided that in any case good
cause shall be shown, and approval of the Court is required.

       (b)     Exhibits and Discovery Disputes

               The parties shall bring all proposed exhibits to the final pre-trial conference for
marking, and, if possible, admission into evidence by stipulation. Parties are encouraged to resolve
disputes before a motion regarding discovery is filed, and are directed to strictly comply with
E.D.Mich.LBR 9014-1(g) and (h) if a motion is ultimately required.

       (c)     Settlement

               Note should be taken of E.D.Mich.LBR 9019-1 relative to settlements.

       (d)     Status or Pretrial Conference Request

                Any party may request a status conference (or a conference to discuss or further consult
in reference to this order) by a communication, in writing, addressed to the Court with copies to
opposing or other counsel and/or any pro se parties. Upon receipt of such a request (or sua sponte)
the Court will schedule such a conference (in person or by phone) if the Court believes it will advance
or be helpful in the disposition of this proceeding.

       (e)     Filing of Discovery Materials

               See E.D.Mich.LBR 7026-1 regarding the filing of discovery materials.



Signed on September 16, 2022




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